Case 9:22-cv-80487-AMC Document 8 Entered on FLSD Docket 05/16/2022 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 9:22-cv-80487-AMC

 NELSON FERNANDEZ,

        Plaintiff,

 vs.


 ACCESS SAVINGS, INC. d/b/a HIT A DOUBLE,
 a Florida for-profit corporation,

       Defendant.
 ______________________________________________/


                                   NOTICE OF SETTLEMENT

        Plaintiff NELSON FERNANDEZ, by and through his undersigned Counsel, hereby gives

 notice that the parties have reached a settlement and will be executing necessary paperwork

 resolving all claims and matters in the case. Accordingly, the parties respectfully request that the

 Court provide the parties twenty (20) days from the date of filing this Notice to allow the parties to

 finalize the settlement agreement and file a Notice of Voluntary Dismissal with Prejudice.

        Respectfully submitted,

 RODERICK V. HANNAH, ESQ., P.A.                        LAW OFFICE OF PELAYO
 Counsel for Plaintiff                                 DURAN, P.A.
 4800 N. Hiatus Road                                   Co-Counsel for Plaintiff
 Sunrise, FL 33351                                     4640 N.W. 7th Street
 T. 954/362-3800                                       Miami, FL 33126-2309
 954/362-3779 (Facsimile)                              T. 305/266-9780
 Email: rhannah@rhannahlaw.com                         305/269-8311 (Facsimile)
                                                       Email: pduran@pelayoduran.com

  By____s/ Roderick V. Hannah __                       By ___s/ Pelayo M. Duran ______
       RODERICK V. HANNAH                                    PELAYO M. DURAN
       Fla. Bar No. 435384                                   Fla. Bar No. 0146595
Case 9:22-cv-80487-AMC Document 8 Entered on FLSD Docket 05/16/2022 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of May, 2022, a true and correct of the

 foregoing was electronically filed and served via transmission of Notice of Electronic Filing

 generated by CM/ECF on all counsel or parties of record on the Service List below:

 Jared Blake Namm, Esq.
 Thomas C. Cifelli, Esq.
 Courtney Clyne, Esq.
 THE BERGMAN LAW GROUP
 P.O. Box 27289
 Boca Raton, FL 33427
 (561) 826-5200
 jnamm@thebermanlawgroup.com
 tcifelli@thebermanlawgroup.com
 clyne@thebermanlawgroup.com

 Attorneys for Defendant
 ACCESS SAVINGS, INC.
 d/b/a HIT A DOUBLE

                                                    /s/ Roderick V. Hannah
                                                        Roderick V. Hannah




                                                2
